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                     UNITED STATES DISTRICT COURT

                             DISTRICT OF OREGON



  PORTLAND COMMUNITY                         Case No.: 3:21-cv-01658-AR
  COLLEGE,

                      Plaintiff,             JOINT STATUS REPORT
         v.

  UNITED STATES DEPARTMENT
  OF VETERANS AFFAIRS, et al.,

                      Defendants.




      Pursuant to the Court’s Order entered on March 3, 2025 (ECF 88), counsel

for plaintiff Portland Community College (“PCC”) and for defendants United

States Department of Veterans Affairs and Douglas A. Collins (collectively,

“VA”) (together, the “Parties”) have conferred and submit the following Joint

Status Report.



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        Since the Parties’ last Joint Status Report (ECF 87), the Parties’ counsel

continued to meet and confer regarding settlement throughout March and April

2025. To date, the Parties have exchanged multiple competing settlement offers

but need more time to pursue resolution. As a result, the Parties seek additional

time to continue settlement efforts.

        Accordingly, to conserve judicial resources and allow the Parties time to

continue settlement discussions without spending time and resources litigating

this case further, the Parties ask the Court to hold PCC’s Motion to Compel

Supplemental Production of the VA’s Administrative Record (ECF 72) and the

VA’s Motion for Judgment on the Pleadings (ECF 58) in abeyance for 45 days,

and order the Parties to submit another Joint Status Report on or before June 2,

2025.

        Respectfully submitted this 17th day of April, 2025.


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                                            District of Oregon


/s/ Stacey A. Martinson                     /s/ Patrick J. Conti
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